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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BOSE CORPORATION,
                                                       Case No. 19-cv-07467
                Plaintiff,
                                                       Judge Thomas M. Durkin
v.
                                                       Magistrate Judge Sunil R. Harjani
OPERATORS OF ANDWIND, et al.,
                Defendants.


                              NOTICE OF RELATED DECISION

       Plaintiff Bose Corporation (“Plaintiff” or “Bose”) submits this Notice of a Related

Decision. In WowWee Grp. Ltd. v. Meirly, 2019 U.S. Dist. LEXIS 51905 (S.D.N.Y. Mar. 27,

2019), the Court found that joinder remained appropriate in a factually similar case, with

allegations similar to the allegations in Bose’s Second Amended Complaint. The section of the

Court’s opinion on joinder is reproduced below, and a copy of the full opinion is attached hereto

as Exhibit 1:

                “Parties may be joined when” there are common questions of law or
                fact and when “(1) the defendants are jointly and severally liable
                under the claims asserted by the plaintiff, or (2) the claim for relief
                by the plaintiff arises out of the same transaction, occurrence, or
                series of transactions or occurrences.” Digital Sin, Inc. v. Does 1-
                176, 279 F.R.D. 239, 243 (S.D.N.Y. 2012) (Nathan, J.) (citing Fed.
                R. Civ. P. 20(a)(2)). Under the Federal Rules, “the impulse is toward
                entertaining the broadest possible scope of action consistent with
                fairness to the parties; joinder of claims, parties, and remedies is
                strongly encouraged.” United Mine Workers of Am. v. Gibbs, 383
                U.S. 715, 724, 86 S. Ct. 1130, 16 L. Ed. 2d 218 (1966).

                The Court finds these elements met in this action. Because of the
                similar course of conduct in which all Defaulting Defendant are
                alleged to have engaged, this case clearly presents common
                questions of law or fact. The closer question is whether the claims
                for relief arise out of the same series of transactions or occurrences
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         notwithstanding the fact that they are asserted against dozens of
         different merchants on the Wish.com platform.

         Plaintiffs assert two reasons for finding this standard met in this
         case. First, Plaintiffs infer a “logical relationship” between the
         Defaulting Defendants. There are significant similarities across the
         Defaulting Defendants’ merchant storefronts, and Plaintiffs contend
         that many Defaulting Defendants likely share common ownership,
         even if that ownership is not readily identifiable based on the
         Wish.com platform. Br. at 5-8; see also Bulgari, S.P.A. v. P’ships &
         Unincorporated Ass’ns Identified on Schedule “A”, No. 14-CV-
         4819 (RAG) (MMR), 2014 U.S. Dist. LEXIS 107218, 2014 WL
         3749132, at * 1-5 (N.D. Ill. Jul. 18, 2014) (recommending granting
         preliminary injunction against similar host of alleged counterfeiters)
         report and recommendation adopted 2014 U.S. Dist. LEXIS
         103652, 2014 WL 3765854, at *2 (N.D. Ill. July 29, 2014). Second,
         Plaintiffs note that Defendants have failed to appear and raise any
         issue regarding joinder. As a consequence, there are no defenses
         raised in this action, let alone conflicting ones, that would require
         separate factual and legal analysis. As a final matter, Plaintiffs note
         the practical argument that China-based counterfeiters like
         Defaulting Defendants are in constant communication and could
         easily spread news of impending lawsuits to one another, frustrating
         an attempt to litigate against each seller individually. Br; at 6.

         The Court finds these arguments sufficient to support its continued
         declining to sever this action as to each Defendant. Although there
         may be concerns regarding the appropriateness of joinder of many
         distinct defendants, those concerns are moderated when no
         conflicting defenses have been asserted and when Plaintiff has
         established a strong likelihood that many of the Defaulting
         Defendants have engaged in coordinated actions or share ownership.




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Dated this 9th day of January 2020.         Respectfully submitted,

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